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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                            Crim. No. 07-50 (ADM/SRN)

               Plaintiff,

       v.                                            REPORT AND RECOMMENDATION

Kamil Madfoun Al-Esawi (04) and
Musaab Fares Wazwaz (14),

               Defendants.


       David J. MacLaughlin, Office of the United States Attorney, 300 South Fourth Street,
Suite 600, Minneapolis, Minnesota 55415, for Plaintiff United States of America

      Richard H. Kyle, Jr., Fredrikson & Byron, P.A., 200 South Sixth Street, Suite 4000,
Minneapolis, Minnesota 55402, for Defendant Kamil Madfoun Al-Esawi

      Douglas B. Altman, Altman & Izak, 901 North Third Street, Suite 140, Minneapolis,
Minnesota 55401, for Defendant Musaab Fares Wazwaz
______________________________________________________________________________

SUSAN RICHARD NELSON, United States Magistrate Judge

       The above-captioned case comes before the undersigned United States Magistrate Judge

on Defendant Kamil Madfoun Al-Esawi’s Motion to Suppress Eyewitness Identifications (Doc.

No. 226), Motion for Severance of Defendants and Offenses (Doc. No. 231), Motion to Strike

Superseding Indictment’s Reference to Retained Counsel as Surplusage (Doc. No. 233), and

Motion for Severance of Offenses (Doc. No. 238);1 and Defendant Musaab Fares Wazwaz’s




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          Defendant Al-Esawi’s Motion for Severance of Offenses (Doc. No. 238) was filed
after the pretrial motions hearing. Nevertheless, because the motion is similar to his Motion for
Severance of Defendants and Offenses (Doc. No. 231), the Court will address the motions
simultaneously.
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Motion to Suppress Evidence (Doc. No. 218).2 This case has been referred to the undersigned

for resolution of pretrial matters pursuant to 28 U.S.C. § 636 and District of Minnesota Local

Rule 72.1. This case is set for trial before the Honorable Ann D. Montgomery on November 19,

2007.

I.       BACKGROUND

         A Superseding Indictment was filed in this case on September 18, 2007, charging

Defendant Kamil Madfoun Al-Esawi (“Defendant Al-Esawi”) with two counts of making a

materially false statement to federal agents, and Defendant Musaab Fares Wazwaz (“Defendant

Wazwaz”) with one count of making a materially false statement to federal agents. This Court

held a pretrial motions hearing on October 11, 2007. Federal Bureau of Investigation Agent

Brian Kinney and Internal Revenue Service Special Agent Timothy Nichols testified at the

hearing, and the Court received five exhibits into evidence:

         Gov’t Ex. 1:     a subpoena dated January 20, 2006;

         Gov’t Ex. 2:     a photographic lineup;

         Gov’t Ex. 3:     a photographic lineup;

         Gov’t Ex. 4:     a photographic lineup; and

         Gov’t Ex. 5:     a copy of Agent Kinney’s report dated January 30, 2006.

II.      FACTS

         The following facts were elicited from the testimony and exhibits introduced at the

pretrial motions hearing on October 11, 2007.

         On January 20, 2006, Agent Nichols and Agent Kinney went to the Maplewood Tobacco


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             The Court will address the pending non-dispositive pretrial motions in a separate Order.

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store (“Maplewood Tobacco”) to speak with Defendant Al-Esawi, who worked there as a part-

time cashier, about the operation and ownership of the store. Although Defendant Wazwaz was

the nominal owner of the store, the agents believed the true owner was Tawfiq Wazwaz. The

agents were investigating the ownership of Maplewood Tobacco as part of a larger investigation

targeting dozens of tobacco stores owned and operated by the Wazwaz extended family.

       Agents Nichols and Kinney arrived at Maplewood Tobacco at approximately 1:30 p.m.

and spoke with Defendant Al-Esawi. Approximately one hour into the interview, Tawfiq

Wazwaz walked into the store. The agents did not speak with him, as they knew he had retained

counsel in another matter, and he left after a short time. At the end of the conversation with

Defendant Al-Esawi, the agents asked for permission to search the store. Defendant Al-Esawi

replied that he was not the owner of the store and could not consent to a search. He identified

the owner as Defendant Wazwaz. At the agents’ request, Defendant Al-Esawi attempted to call

Defendant Wazwaz on the telephone but failed to reach him. Agent Kinney eventually reached

Defendant Wazwaz at another store under investigation, Royal Tobacco. Agent Kinney

identified himself and explained why the agents were at Maplewood Tobacco. Defendant

Wazwaz confirmed that he was the owner of Maplewood Tobacco, and Agent Kinney asked him

to consent to a search of the store. Defendant Wazwaz refused and told Agent Kinney to contact

his lawyer, Carl Lindquist. Defendant Wazwaz also said that he would come to Maplewood

Tobacco in an hour to “discuss things” with the agents.

       The agents ended the interview with Defendant Al-Esawi and left to obtain a subpoena

for Maplewood Tobacco’s surveillance tape. When the agents returned, Defendant Wazwaz was

at the store, and the agents served the subpoena on him. The agents also asked Defendant


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Wazwaz for his consent to search the store, and he declined, saying he did not trust anyone, even

his mother, in the store’s office. Agent Nichols said that he could trust them.

       The agents then left the store and drove around the area to investigate which vehicle

belonged to Defendant Wazwaz. The agents had no intention of returning to the store but parked

across the street to wait for Defendant Wazwaz to leave. While the agents were parked,

Defendant Wazwaz called Agent Kinney on his cellular phone. He said he had spoken with his

attorney and was giving the agents consent to search the store. He did not impose any

limitations on the scope of the search. The agents returned to the store while Defendant Wazwaz

was still on the phone. Agent Kinney handed the phone to Defendant Al-Esawi, who spoke with

Defendant Wazwaz. After the call ended, Defendant Al-Esawi escorted the agents to the back of

the store, where they began to search. The agents tried to open the office door, but it was locked,

and the agents asked Defendant Al-Esawi for a key. Defendant Al-Esawi did not have a key, so

the agents called Defendant Wazwaz and asked him for a key to the office. Defendant Wazwaz

said that he had the only key but was not returning to the store.

       The agents continued to search the accessible areas of the store. When Defendant Al-

Esawi saw Agent Nichols placing some items into a bag, he called Defendant Wazwaz and

handed the phone to the agent. Defendant Wazwaz said he thought the agents were done with

the search, to which Agents Nichols replied they were not. Defendant Wazwaz reiterated his

consent to the search and told the agents to take whatever they needed. The agents briefly

continued to search after the call ended.

       On Friday, January 27, 2006, Agents Kinney and Nichols went to Western Bank to

interview the bank’s employees about Maplewood Tobacco’s banking activities. The agents


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interviewed three tellers and a manager, separately, in an unoccupied office. During the

interviews, the agents showed each employee three different photographic lineups and asked the

employee if he or she recognized anyone associated with Maplewood Tobacco. The lineups

were comprised of six color photographs of men with similar features, with no writing or

markings. Three tellers identified Defendant Al-Esawi as associated with Maplewood Tobacco.

III.    DISCUSSION

        A.     Defendant Al-Esawi’s Motion to Suppress Eyewitness Identifications

        Defendant Al-Esawi moves to suppress the eyewitness identifications made by the

Western Bank employees, arguing that the photographic lineups were unnecessarily suggestive.

He did not, however, specify how the photographic lineups or the identification procedure were

suggestive.

        In assessing the constitutionality of a photographic lineup, a court must first determine

whether the identification procedure was “impermissibly suggestive” and, if it was, then inquire

whether that procedure was nonetheless reliable. United States v. Williams, 340 F.3d 563, 567

(8th Cir. 2003) (internal citations omitted). Here, neither the photographic lineups nor the

identification procedure were suggestive in any way. Each lineup consisted of six photographs

of men with similar features. There were no markings or writing on the lineups. The agents

asked the employees to identify any individuals whom they recognized as associated with

Maplewood Tobacco, but the agents did not prompt the employees or suggest a result.

        Even assuming the identification procedure was impermissibly suggestive, the

identifications were nevertheless reliable. In assessing reliability, courts balance five factors:

“‘the opportunity of the witness to view the criminal at the time of the crime, the witness’ degree


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of attention, the accuracy of his prior description of the criminal, the level of certainty

demonstrated at the confrontation, and the time between the crime and the confrontation.’” Id. at

567 (internal citation omitted). In this case, the tellers recognized Defendant Al-Esawi as having

made deposits at the bank on behalf of Maplewood Tobacco. There is no reason to doubt the

tellers’ degree of attention; their employment as bank tellers necessarily involves paying

attention to customers. The tellers expressed no uncertainty in their identifications of Defendant

Al-Esawi. The factor pertaining to the accuracy of any prior descriptions does not apply here.

Finally, the identifications presumably occurred within a few days to a week of when the tellers

had last seen Defendant Al-Esawi transact business at the bank on behalf of Maplewood

Tobacco.

        In sum, the photographic lineups in this case did not offend Defendant Al-Esawi’s due

process rights. The identification procedure was not impermissibly suggestive, but even

assuming it was, it was nonetheless reliable. Accordingly, Defendant Al-Esawi’s motion to

suppress the eyewitness identifications should be denied.

        B.      Defendant Al-Esawi’s Motion for Severance of Defendants and Offenses and

                Separate Motion for Severance of Offenses

        Defendant Al-Esawi asks to be tried separately on Counts 1 and 3. He also asks to be

tried separately from Defendant Wazwaz. For each request, he does not challenge the propriety

of the joinder itself, but asserts that he would be prejudiced by a joint trial.

        Generally, “persons charged in a conspiracy or jointly indicted on similar evidence from

the same or related events should be tried together.” United States v. Jones, 880 F.2d 55, 63 (8th

Cir. 1989) (citations omitted). Offenses may be joined in an indictment if they are of similar


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character, based on the same act, or based on a “common scheme or plan.” Fed. R. Crim. P.

8(a). If a defendant’s trial rights would be prejudiced by the joinder of either offenses or

defendants, he or she may seek severance under Federal Rule of Criminal Procedure 14(a).

However, “[t]he presumption against severing properly joined cases is strong. It is not enough

that a defendant thinks his chances for acquittal would be better in a separate trial . . . .” United

States v. Delpit, 94 F.3d 1134, 1143 (8th Cir. 1996) (citations omitted). A defendant should be

severed “only if there is a serious risk that a joint trial would compromise a specific trial right of

one of the defendants, or prevent the jury from making a reliable judgment about guilt or

innocence.” Zafiro v. United States, 506 U.S. 534, 539 (1993). Moreover, unless the defendant

can show that a jury would be unable to compartmentalize the evidence against him, a general

complaint of spillover prejudice is not a sufficient basis for severance. United States v.

O’Meara, 895 F.2d 1216, 1219 (8th Cir. 1990). Finally, any risk of prejudice “is best cured by

careful and thorough jury instructions,” not severance. Zafiro, 506 U.S. at 540-41.

       The Court begins with Defendant Al-Esawi’s request to sever the counts against him.

Count 1 charges Defendant Al-Esawi with lying to federal agents during an interview at

Maplewood Tobacco on January 20, 2006, when he said that Defendant Wazwaz was the owner

of the store, even though he knew that Tawfiq Wazwaz was the actual owner. Count 3 charges

Defendant Al-Esawi with lying to federal agents during an immunized proffer session on

February 15, 2006, when he said that an unindicted co-conspirator had hired him to work at

Maplewood Tobacco, even though he knew that Tawfiq Wazwaz hired him. Defendant Al-

Esawi claims that Counts 1 and 3 must be severed because the statement charged in Count 3 was

provided under a grant of immunity and thus will not be admissible in the Government’s


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prosecution of Count 1.

       In its response to the motion, the Government concedes that the proffer agreement

precludes the use of the immunized testimony to prove that Defendant Al-Esawi lied during the

earlier interview on January 20, 2006. The Government accordingly represents that it will not

seek to offer Defendant’s immunized statement to prove the falsity of the earlier statement.

       The question for the purpose of severance under Rule 14(a) is whether Defendant Al-

Esawi will be prejudiced in the prosecution of Count 1 by the introduction of the immunized

statement in the prosecution of Count 3. The Court concludes no such prejudice exists because

the immunized statement simply is not probative of the falsity of the other statement. To prove

Count 1, the Government intends to present evidence that Tawfiq Wazwaz owned and controlled

Maplewood Tobacco and that Defendant Al-Esawi knew Tawfiq Wazwaz was the true owner of

the store. The immunized statement relates to neither of these facts.

       Furthermore, even if Defendant Al-Esawi had shown a risk of prejudice, he has not

demonstrated that a jury would be unable to separate the evidence related to each of the two

counts, both of which are relatively simple and straightforward, if given an appropriate limiting

instruction. Consequently, the Court concludes that the counts should not be severed.3


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         An additional basis for denying the motion for severance of counts exists in the proffer
agreement itself. The parties agreed that “that in any case prosecuted by the United States
Attorney’s Office, . . . the government will not offer in its case-in-chief . . . any oral statements
made by [Defendant Al-Esawi] at the meeting, except in a prosecution for false statements,
obstruction of justice, or perjury.” (Def. Mot. Sever. Offenses Ex. A ¶ 2) (emphasis added). The
Government intends to offer the statement made during the proffer session in prosecuting a false
statement, which is expressly permitted by the agreement. The agreement does not limit the use
of the immunized false statement to the prosecution of only that statement; the language seems to
permit the use of the false statement in any prosecution of a false statement. In addition, the
agreement expressly permits the Government to use statements made during the proffer session
“for the purpose of cross-examination . . . or to rebut any evidence offered” at a trial. (Id.

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       Defendant Al-Esawi also seeks to sever his trial from that of Defendant Wazwaz,

claiming that he would be prejudiced by a joint trial because Defendant Wazwaz might offer

exculpatory testimony in a separate trial. Specifically, Defendant Al-Esawi believes that

Defendant Wazwaz would testify that Defendant Wazwaz told federal agents he was the owner

of Maplewood Tobacco, not Tawfiq Wazwaz. According to Defendant Al-Esawi, this testimony

would corroborate his statement to federal agents that he believed Defendant Wazwaz was the

true owner.

       To obtain a separate trial based on an asserted need to call a co-defendant as a witness,

the defendant must show “that it is likely his co-defendant actually would have testified and that

this testimony would have been exculpatory.” Delpit, 94 F.3d at 1144 (citing United States v.

Anthony, 565 F.2d 533, 538 (8th Cir. 1977)). In this case, Defendant Al-Esawi has not shown

that Defendant Wazwaz would likely testify at a separate trial. There is no proffer of testimony

from Defendant Wazwaz or his counsel. Cf. United States v. Mickelson, 378 F.3d 810, 818 (8th

Cir. 2004) (co-defendant’s lawyer told the court that his client was willing to testify and

presented the substance of the testimony); United States v. Oakie, 12 F.3d 1436, 1441 (8th Cir.

1993) (same). Rather, Defendant Al-Esawi offers only hopeful speculation. Indeed, Defendant

Wazwaz’s testimony at a separate trial of Defendant Al-Esawi would be most unlikely, given

that Defendant Wazwaz would have to waive his Fifth Amendment right to remain silent in order

to testify. In addition, the Government has represented that if the trials were severed, it would

prosecute Defendant Al-Esawi first. This further reduces any likelihood that Defendant Wazwaz




¶ 3(b).) These exceptions expressly permit the use of Defendant Al-Esawi’s immunized
statements under certain circumstances, and he may not assert prejudice in those situations.

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would testify at Defendant Al-Esawi’s trial and subject himself to cross-examination before his

own trial. Because Defendant Al-Esawi has not shown that Defendant Wazwaz would likely

testify at a separate trial, the trial of Defendants should not be severed.

       C.      Defendant Al-Esawi’s Motion to Strike Superseding Indictment’s Reference

               to Retained Counsel as Surplusage

       Defendant Al-Esawi asks to strike a reference to his “retained counsel” in paragraph 12

of the Superseding Indictment. The Government does not object to removing the reference, and

the Court recommends that the motion be granted.

       D.      Defendant Wazwaz’s Motion to Suppress Evidence

       Defendant Wazwaz moves to suppress the evidence seized from Maplewood Tobacco. In

his original motion, he failed to set forth any legal basis for his motion. At the motion hearing,

he suggested that the search was improper because his consent was involuntarily given, the

search exceeded the scope of his consent, and he revoked his consent. Although Defendant

Wazwaz requested and received an opportunity to brief these issues after the hearing, he

informed the Court in a letter dated October 16, 2007, that he had “decided to submit the issue of

the legality of the consent search of Mr. Wazwaz’s business premises on the pleadings and the

testimony at the motions hearing . . . .” (Altman Letter, Oct. 16, 2007, at 1.)

       Police officers may search an area without a warrant “if they obtain a voluntary consent

from someone possessing adequate authority over the area.” United States v. Chaidez, 906 F.2d

377, 380 (8th Cir. 1990) (citing United States v. Matlock, 415 U.S. 164, 171 & n.7 (1974);

Schneckloth v. Bustamonte, 412 U.S. 218, 222 (1973)). Whether consent was voluntarily given

depends on the totality of the circumstances, including the characteristics of the person and the


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context of the encounter. Id. (citing Bustamonte, 412 U.S. at 226). Regarding the characteristics

of the individual, a court must consider a person’s age, intelligence, and education; whether he

was under the influence of drugs or intoxicated; whether he was advised of his Miranda rights;

and whether he was aware of legal protections because of previous arrests. Id. at 381 (citations

omitted). In examining the context in which the consent was obtained, a court should consider

the length of time that the person was detained and questioned; whether the person was

threatened, intimidated, or punished; whether the police made promises or misrepresentations on

which the individual relied; the person’s custodial status; whether the encounter was in a public

or a secluded place; and whether the person objected to the search or stood by silently. Id.

(citations omitted). A court should not mechanically apply the factors, id., and the question is

not whether Defendant Wazwaz “consented subjectively, but whether his conduct would have

caused a reasonable person to believe that he consented,” see United States v. Jones, 254 F.3d

692, 695 (8th Cir. 2001).

       Upon examination of the relevant factors, the Court concludes that a reasonable person

would believe that Defendant Wazwaz voluntarily consented to the search of Maplewood

Tobacco. Defendant Wazwaz is presumably of adequate age, intelligence, and educational level;

nothing in the record suggests otherwise. There is similarly no evidence that he was under the

influence of drugs or alcohol, or that he had been arrested previously. The Court will presume,

however, that Defendant Wazwaz knew of his right to refuse consent, as he told the agents to

contact his lawyer, and he had refused consent twice before.

       At the motions hearing, Defendant Wazwaz’s counsel questioned the agents at length

about their general practice in using consent-to-search forms and why they did not ask Defendant


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Wazwaz to sign such a form. The agents testified that they use a written consent-to-search form

when possible. But here, Defendant Wazwaz gave verbal consent over the telephone. The

agents did not personally encounter him when they returned to the store, and therefore, it was not

possible to have him sign a written consent form. In these circumstances, the lack of a written

consent-to-search form is irrelevant.

       The agents were not required to advise Defendant Wazwaz of his Miranda rights because

he gave his consent to search the store during a telephone call. He was obviously not in custody,

and Miranda therefore did not apply. Moreover, Defendant Wazwaz himself initiated the

telephone call with the agents, after he had spoken with his lawyer about the situation, and he

volunteered his consent without being asked. There were no threats, intimidation, coercion,

promises, or misrepresentations, and Defendant Wazwaz was not detained. During the search,

the agents called Defendant Wazwaz to ask for a key, and he said nothing during the

conversation to indicate his lack of consent. He said only that he had a key but was not returning

to the store. Viewing the totality of the circumstances, this is a clear-cut case of voluntary

consent.

       As to whether the agents exceeded the scope of the consent, the record is clear that

Defendant Wazwaz did not impose any limitations on the scope of the search. Similarly, the

record lacks any evidence that Defendant Wazwaz revoked his consent. To the contrary, when

Defendant Al-Esawi called Defendant Wazwaz during the course of the search, Defendant

Wazwaz reiterated his consent and told the agents to take whatever they needed.

       In conclusion, Defendant Wazwaz’s consent to search Maplewood Tobacco was

voluntary and without limitation, and he never revoked his consent. Accordingly, his motion to


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suppress evidence should be denied.



       Based on all of the files, records, and proceedings herein, IT IS HEREBY

RECOMMENDED that:

       1.      Defendant Kamil Al-Esawi’s Motion to Suppress Eyewitness Identifications

               (Doc. No. 226) be DENIED;

       2.      Defendant Kamil Al-Esawi’s Motion for Severance of Defendants and Offenses

               (Doc. No. 231) be DENIED;

       3.      Defendant Kamil Al-Esawi’s Motion to Strike Superseding Indictment’s

               Reference to Retained Counsel as Surplusage (Doc. No. 233) be GRANTED;

       4.      Defendant Kamil Al-Esawi’s Motion for Severance of Offenses (Doc. No. 238)

               be DENIED; and

       5.      Defendant Musaab Wazwaz’s Motion to Suppress Evidence (Doc. No. 218) be

               DENIED.


Dated: October 31, 2007
                                                     s/ Susan Richard Nelson
                                                     SUSAN RICHARD NELSON
                                                     United States Magistrate Judge

Pursuant to D. Minn. LR 72.2(b), any party may object to this Report and Recommendation by
filing with the Clerk of Court, and serving all parties by November 14, 2007, a writing which
specifically identifies those portions of this Report to which objections are made and the basis of
those objections. Failure to comply with this procedure may operate as a forfeiture of the
objecting party’s right to seek review in the Court of Appeals. A party may respond to the
objecting party’s brief within ten days after service thereof. A judge shall make a de novo
determination of those portions to which objection is made. This Report and Recommendation
does not constitute an order or judgment of the District Court, and it is therefore not appealable
to the Court of Appeals.


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